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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS, UNITED
STATES HOUSE OF REPRESENTATIVES,

                       Plaintiff,
       v.

UNITED STATES DEPARTMENT OF THE
TREASURY, et al.,                                           Case No. 19-cv-1974 (TNM)

                       Defendants,

DONALD J. TRUMP, et al.,

                       Defendant-Intervenors.


                   JOINT MOTION TO REVISE BRIEFING SCHEDULE

       The parties jointly request a one-business-day modification of the schedule for briefing

Defendants’ and Defendant-Intervenors’ motion to dismiss in this matter. Pursuant to this

Court’s schedule, ECF No. 38 at 6, Defendants filed their motion to dismiss on Friday,

September 6, 2019, see ECF No. 44, attaching a 14-page declaration from Frederick W.

Vaughan, the Deputy Assistant Secretary for Legislative Affairs at the U.S. Department of the

Treasury, see ECF No. 44-3. Plaintiff’s opposition to the motion to dismiss is currently due on

Friday, September 20, 2019. ECF No. 38 at 6.

       At 10:30 p.m. on Tuesday, September 17, 2019, counsel for Defendants advised counsel

for Plaintiff that “additional facts have recently come to our attention” that were “inadvertently

omitted from the Vaughan Declaration,” and stated that Defendants “anticipate[d] that tomorrow

we will file one or more brief declarations supplementing the Vaughan Declaration.” As of the

filing of this motion, Defendants have not yet filed any supplemental declaration(s).
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       In order to permit Plaintiff time to review and respond to Defendants’ supplemental

declaration(s), the parties respectfully request a one-business-day extension of time for Plaintiff’s

opposition, until Monday, September 23, 2019. The parties further request a corresponding

extension for Defendants’ and Defendant-Intervenors’ reply, see ECF No. 38 at 7, until Monday,

September 30, 2019.

Dated: September 18, 2019                     Respectfully submitted,

                                              /s/ Douglas N. Letter
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS, UNITED
STATES HOUSE OF REPRESENTATIVES,

                          Plaintiff,
        v.

UNITED STATES DEPARTMENT OF THE
TREASURY, et al.,                                         Case No. 19-cv-1974 (TNM)

                          Defendants,

DONALD J. TRUMP, et al.,

                          Defendant-Intervenors.


                                        [PROPOSED] ORDER

        Upon consideration of the parties’ Joint Motion to Revise Briefing Schedule (Sept. 18,

2019), and for good cause shown, it is hereby

        ORDERED that the Joint Motion is GRANTED; and it is further

        ORDERED that Plaintiff’s opposition to the motion to dismiss is due September 23,

2019; and it is further

        ORDERED that Defendants’ and Defendant-Intervenors’ reply is due September 30,

2019.

        SO ORDERED.

Date: __________________                                    ______________________
                                                            U.S. District Judge
